          Case 2:16-cv-00784-JAD-VCF Document 9 Filed 10/03/16 Page 1 of 23



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12
13                          UNITED STATES DISTRICT COURT
14                                  DISTRICT OF NEVADA
15
     RAYMOND MALDONADO, individually CASE NO. 2:16-cv-00784-JAD-VCF
16   and on behalf of all others similarly
     situated,                             DEFENDANT HSBC MORTGAGE
17                                         SERVICES, INC.’S MEMORANDUM
18                        Plaintiff,       OF POINTS AND AUTHORITIES IN
                                           SUPPORT OF MOTION TO
19   v.                                    DISMISS, PURSUANT TO FED. R.
20                                         CIV. P. 12(b)(1) OR 12(b)(6), OR, IN
     HSBC MORTGAGE SERVICES, INC.;
                                           THE ALTERNATIVE, TO STRIKE
21
                         Defendant.        CLASS ALLEGATIONS
22
                                                    ORAL ARGUMENT REQUESTED
23
24                             MOTION TO DISMISS COMPLAINT
25                OR, ALTERNATIVELY, TO STRIKE CLASS ALLEGATIONS
26         For the reasons set forth in Defendant HSBC Mortgage Services, Inc.’s (“HSBC”)
27   attached Memorandum of Points and Authorities, HSBC respectfully moves this Court to
28   dismiss the Complaint, pursuant to Federal Rule of Civil Procedure 12(b)(1), for lack of


                                                i
           Case 2:16-cv-00784-JAD-VCF Document 9 Filed 10/03/16 Page 2 of 23



 1   subject matter jurisdiction or, alternatively, pursuant to Federal Rule of Civil Procedure
 2   12(b)(6), for failure to state a claim upon which relief can be granted. In the alternative,
 3   if the Court does not dismiss the Complaint in its entirety, HSBC respectfully requests
 4   that the Court strike Plaintiff’s class allegations from the Complaint, pursuant to Federal
 5   Rule of Civil Procedure 23(d)(1)(D).
 6   Dated: October 3, 2016           GREENBERG TRAURIG, LLP
 7                                    /s/ Jacob D. Bundick
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                                                  ii
              Case 2:16-cv-00784-JAD-VCF Document 9 Filed 10/03/16 Page 3 of 23


                                                              TABLE OF CONTENTS
 1

 2   INTRODUCTION ..........................................................................................................................1

 3   ALLEGATIONS IN THE COMPLAINT .......................................................................................2

 4   ARGUMENT ..................................................................................................................................3
 5
     I.        THE COMPLAINT FAILS TO ALLEGE STANDING .....................................................3
 6
               A.         To Establish Article III Standing, Plaintiff Must Allege An Injury That is
 7                        Particularized and Concrete .....................................................................................4

 8             B.         The Complaint Fails to Allege Injury In Fact ..........................................................5
 9                        1.     The Complaint fails to allege a particularized injury .......................................6
10                        2.     The Complaint fails to allege a concrete injury ...............................................7
11
               C.         The Complaint Fails to Allege Statutory Standing for Negligent FCRA
12                        Violations .................................................................................................................9

13   II.       IN THE ALTERNATIVE, THE COMPLAINT FAILS TO STATE A CLAIM UPON
               WHICH RELIEF CAN BE GRANTED ............................................................................10
14
               A.         The Complaint Fails to State a Claim for Negligent Violation of the FCRA ........11
15
               B.         The Complaint Fails to State a Claim for Willful Violation of the FCRA ............12
16
17   III.      ALTERNATIVELY, PLAINITIFF’S CLASS ALLEGATIONS SHOULD BE
               STRICKEN ........................................................................................................................13
18
               A.         The Motion to Strike Class Allegations Standard..................................................14
19
               B.         Plaintiff Has Failed to Establish an Identifiable and Ascertainable Class ............14
20
                          1.     The class definition improperly requires a merits determination ...................16
21
                          2.     The class definition is overbroad, as it includes individuals whose claims are
22
                                 time-barred .....................................................................................................18
23
     CONCLUSION .............................................................................................................................18
24
25

26
27
28


                                                                                iii
           Case 2:16-cv-00784-JAD-VCF Document 9 Filed 10/03/16 Page 4 of 23



 1         HSBC Mortgage Services, Inc. (“HSBC”) respectfully submits this brief in support
 2   of its motion to dismiss Plaintiff Raymond Maldonado’s (“Plaintiff”) Complaint for lack
 3   of subject matter jurisdiction, pursuant to Federal Rule of Civil Procedure 12(b)(1), or,
 4   alternatively, for failure to state a claim upon which relief can be granted, pursuant to
 5   Federal Rule of Civil Procedure 12(b)(6). In the alternative, if the Complaint is not
 6   dismissed, HSBC respectfully requests that the Court strike the Complaint’s class
 7   allegations, pursuant to Federal Rule of Civil Procedure 23(d)(1)(D).
 8                                       INTRODUCTION
 9         The Supreme Court’s recent decision in Spokeo, Inc. v. Robins, 136 S. Ct. 1540
10   (2016), requires that Plaintiff’s Complaint be dismissed for failure to allege Article III
11   standing. Plaintiff’s sole claim is that HSBC violated the Fair Credit Reporting Act (“the
12   FCRA” or “the Act”) when it allegedly requested Plaintiff’s credit report without a
13   “permissible purpose,” as defined in § 1681b of the Act. Plaintiff has failed, however, to
14   allege anything more than a bare statutory violation, which, under Spokeo, is insufficient
15   to satisfy the injury-in-fact requirement of the standing doctrine. See id. at 1549. Indeed,
16   Plaintiff has not alleged any facts showing that he was actually harmed by the alleged
17   credit report inquiry. He thus has failed to demonstrate that he suffered a particularized
18   and concrete injury as a result of HSBC’s conduct, rendering his claim beyond the
19   jurisdiction of this Court. The Complaint should therefore be dismissed pursuant to
20   Federal Rule of Civil Procedure 12(b)(1).
21         Alternatively, if the Court were to find that it has jurisdiction over Plaintiff’s claim
22   (which it should not), it should nonetheless dismiss the Complaint, pursuant to Federal
23   Rule of Civil Procedure 12(b)(6), for failure to state a claim upon which relief can be
24   granted. It is unclear from the Complaint whether Plaintiff is claiming that HSBC’s
25   alleged violation of the FCRA was negligent or willful; however, Plaintiff fails to
26   adequately state a claim for either. First, Plaintiff’s failure to allege actual damages is
27   fatal to his claim to the extent it is based on HSBC’s alleged negligence, because actual
28   damages are an essential element of a claim for negligent violation of the FCRA. See 15


                                                  1
           Case 2:16-cv-00784-JAD-VCF Document 9 Filed 10/03/16 Page 5 of 23



 1   U.S.C. § 1681o. Second, Plaintiff fails to allege any facts to support his conclusory
 2   assertions that HSBC willfully violated the FCRA. Accordingly, Plaintiff’s FCRA claim
 3   is subject to dismissal on the merits.
 4         Finally, if the Court does not dismiss the Complaint in its entirety, it should strike
 5   Plaintiff’s class allegations, pursuant to Federal Rule of Civil Procedure 23(d)(1)(D), as
 6   Plaintiff’s class definition is overbroad and fails to identify an ascertainable class using
 7   objective criteria.   Plaintiff’s proposed class definition impermissibly requires an
 8   individualized inquiry into the merits of each potential class member’s claim to
 9   determine whether the person should be included in the class. Accordingly, maintenance
10   of a class action would be untenable and the class allegations should be stricken from the
11   Complaint.
12                           ALLEGATIONS IN THE COMPLAINT
13         According to the Complaint, Plaintiff “incurred financial obligations” to HSBC
14   (“the Debt”) “[s]ometime prior to 2009.” Complaint, dated April 8, 2016 (“Compl.”)
15   ¶ 16. On June 1, 2009, Plaintiff filed for Chapter 13 Bankruptcy in the United States
16   Bankruptcy Court for the District of Nevada, in the matter captioned, In re Raymond
17   Maldonado, Case No. 09-19189-led. Id. ¶ 17. The Debt was listed on Plaintiffs’
18   bankruptcy schedule, and HSBC received notice of the bankruptcy proceedings. Id. ¶ 18.
19   On May 7, 2015, Plaintiff received a bankruptcy discharge, which resulted in the
20   discharge of the Debt. Id. ¶¶ 19, 22. At no time before or after the bankruptcy discharge
21   did HSBC challenge the Debt’s inclusion in the bankruptcy schedule or otherwise argue
22   that the Debt was “nondischargeable” under 11 U.S.C. § 523. Id. ¶¶ 20-21. One month
23   later, on June 9, 2015, HSBC submitted a credit report inquiry to Equifax regarding
24   Plaintiff. Id. ¶ 25. Plaintiff does not allege that HSBC submitted any other credit report
25   inquiries to Equifax (or any other credit reporting agency) at any time thereafter.
26         Plaintiff brought suit against HSBC on April 8, 2016, alleging that HSBC violated
27   the FCRA by requesting Plaintiff’s credit report in June 2015 without a “permissible
28   purpose,” as defined in 15 U.S.C. § 1681b, because the Debt had been discharged at that


                                                  2
           Case 2:16-cv-00784-JAD-VCF Document 9 Filed 10/03/16 Page 6 of 23



 1   time. Compl. ¶¶ 25-28. Plaintiff brings this claim individually and on behalf of a
 2   putative class consisting of:
 3         All persons whose consumer credit report from any of the three major credit
 4         reporting agencies (Transunion, Equifax, and Experian) reflects an
 5         unauthorized consumer credit report inquiry by [HSBC] after Chapter 13
 6         bankruptcy discharge within the past 5 years.
 7   Id. ¶ 30. Plaintiff seeks actual damages and reasonable attorneys’ fees and costs in
 8   connection with any negligent violations of the FCRA, id. ¶¶ 43 (citing 15 U.S.C.
 9   §§ 1681o(a)(1), 1681o(a)(2)), and actual or statutory damages, punitive damages, and
10   reasonable attorneys’ fees and costs in connection with any willful violations. Id. ¶ 44
11   (citing 15 U.S.C. §§ 1681n(a)(1)(A), 1681n(a)(2), 1681n(a)(3)); see also id., Prayer for
12   Relief.
13                                        ARGUMENT
14      I. THE COMPLAINT FAILS TO ALLEGE STANDING
15         “[S]tanding is a necessary element of federal-court jurisdiction.” McQuinn v. Bank
16   of Am., N.A., __ Fed. Appx. __, 2016 WL 3947831, at *1 (9th Cir. July 22, 2016).
17   Indeed, “[a] suit brought by a plaintiff without Article III standing is not a ‘case or
18   controversy,’ and an Article III federal court therefore lacks subject matter jurisdiction
19   over the suit. In that event, the suit should be dismissed under Rule 12(b)(1).” Oaktree
20   Capital Mgmt., L.P. v. KPMG, 963 F. Supp. 2d 1064, 1077 (D. Nev. 2013) (citing
21   Cetacean Cmty. v. Bush, 386 F.3d 1169, 1174 (9th Cir. 2004)). As the party invoking
22   federal jurisdiction, the plaintiff bears the burden of establishing each element of
23   standing. Spokeo, 136 S. Ct. at 1547. Thus, “at the pleading stage, the plaintiff must
24   ‘clearly … allege facts demonstrating’ each element” of standing. Id. (quoting Warth v.
25   Seldin, 422 U.S. 490, 518 (1975)).        Conclusory and unsupported allegations are
26   insufficient to support standing. See generally Ashcroft v. Iqbal, 556 U.S. 662, 678
27   (2009).
28


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           Case 2:16-cv-00784-JAD-VCF Document 9 Filed 10/03/16 Page 7 of 23



 1         As the Supreme Court has stated, “the ‘irreducible constitutional minimum’ of
 2   standing consists of three elements”: the plaintiff must have “(1) suffered an injury in
 3   fact, (2) that is fairly traceable to the challenged conduct of the defendant, and (3) that is
 4   likely to be redressed by a favorable judicial decision.” Spokeo, 136 S. Ct. at 1547
 5   (citing Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 180-
 6   81 (2000); Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992)). Here, Plaintiff
 7   has failed to adequately allege that he has suffered any “injury in fact,” the “[f]irst and
 8   foremost of standing’s three elements.” Spokeo, 136 S. Ct. at 1547 (internal quotation
 9   marks omitted).
10
               A. To Establish Article III Standing, Plaintiff Must Allege An Injury That
11                is Particularized and Concrete
12         To sufficiently allege an injury in fact, “a plaintiff must show that he or she
13   suffered ‘an invasion of a legally protected interest’ that is ‘concrete and particularized’
14   and ‘actual or imminent, not conjectural or hypothetical.’” Id. at 1548 (quoting Lujan,
15   504 U.S. at 560); see also id. (“We have made it clear time and time again that an injury
16   in fact must be both concrete and particularized.”) (emphasis in original); see generally
17   McQuinn, 2016 WL 3947831, at *1 (recognizing that a plaintiff must plead a
18   “particularized and sufficiently concrete injury to establish Article III standing”).
19         “For an injury to be ‘particularized,’ it ‘must affect the person in a personal and
20   individual way.’” Spokeo, 136 S. Ct. at 1548 (quoting Lujan, 504 U.S. at 560 n.1); see
21   also Habeas Corpus Resource Ctr. v. U.S. Dep’t of Justice, 816 F.3d 1241, 1250 n.11
22   (9th Cir. 2016) (same); Baldwin v. Sebelius, 654 F.3d 877, 879 (9th Cir. 2011) (“[T]he
23   injury in fact test requires … that the party seeking review be himself among the
24   injured.”). “That a suit may be a class action … adds nothing to the question of standing,
25   for even named plaintiffs who represent a class must allege and show that they
26   personally have been injured, not that injury has been suffered by other, unidentified

27   members of the class to which they belong.” Spokeo, 136 S. Ct. at 1547 n.6 (emphasis

28   added) (internal quotation marks omitted).


                                                   4
           Case 2:16-cv-00784-JAD-VCF Document 9 Filed 10/03/16 Page 8 of 23



 1         For an injury to be “concrete,” it must be “‘de facto’; that is, it must actually
 2   exist.” Id. at 1548. It must be “‘real,’ and not ‘abstract.’” Id. Although the Spokeo
 3   Court recognized that certain intangible injuries may be sufficiently concrete to confer
 4   standing, the Court warned that simply alleging a violation of a statutory right does not
 5   satisfy a plaintiff’s burden to allege an injury in fact. Id. at 1549. The Court reasoned:
 6         Congress’ role in identifying and elevating intangible harms does not mean
 7         that a plaintiff automatically satisfies the injury-in-fact requirement
 8         whenever a statute grants a person a statutory right and purports to authorize
 9         that person to sue to vindicate that right. Article III standing requires a
10         concrete injury even in the context of a statutory violation. For that
11         reason, [plaintiff] could not, for example, allege a bare procedural violation,
12         divorced from any concrete harm, and satisfy the injury-in-fact requirement
13         of Article III.
14   Id. (emphasis added).        Indeed, “‘Congress cannot erase Article III’s standing
15   requirements by statutorily granting the right to sue to a plaintiff who would not
16   otherwise have standing.’” Id. at 1547-48 (quoting Raines v. Byrd, 521 U.S. 811, 820 n.3
17   (1997)).
18               B. The Complaint Fails to Allege Injury In Fact
19         The Complaint is devoid of any factual allegations that Plaintiff suffered actual
20   harm as a result of HSBC’s alleged credit report inquiry. Plaintiff’s sole allegations
21   regarding “harm” are as follows:
22         11.     Plaintiff is a natural person … whose credit report was affected by an
23   unauthorized inquiry….
24         32.     Plaintiff and members of the Class were harmed by the acts of Defendant in
25   at least the following ways: Defendant, either directly or through its agents, engaged in
26   illegal and deceptive practices, when it submitted an unauthorized consumer report
27   inquiry under 15 U.S.C. § 1681 et seq. Plaintiff and the Class members were damaged
28   thereby.


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           Case 2:16-cv-00784-JAD-VCF Document 9 Filed 10/03/16 Page 9 of 23



 1         37.    Plaintiff and the members of the Class have all suffered irreparable harm as
 2   a result of the Defendant’s unlawful and wrongful conduct….
 3   See Compl. ¶¶ 11, 32, 37. These conclusory allegations are insufficient to establish that
 4   Plaintiff suffered an injury that is either particularized or concrete, rendering the
 5   Complaint subject to dismissal for lack of subject matter jurisdiction, pursuant to Federal
 6   Rule of Civil Procedure 12(b)(1).
 7                   1. The Complaint fails to allege a particularized injury
 8         The above allegations consist merely of conclusory statements that HSBC’s
 9   alleged submission of unauthorized credit report inquiries “affected,” “harmed” and
10   “damaged” Plaintiff and the members of the putative class. They do not provide any
11   factual detail as to how Plaintiff was personally harmed by HSBC’s one-time request for
12   his credit report. Indeed, it is difficult to imagine how Plaintiff could have been harmed
13   at all under the circumstances. It is undisputed that Plaintiff had a longtime lending
14   relationship with HSBC, and that HSBC had a permissible purpose to request and obtain
15   Plaintiff’s credit report pre-discharge (i.e., “[s]ometime prior to 2009” until May 7,
16   2015).   Compl. ¶¶ 16-19; see generally Germain v. Bank of Am., N.A., 2014 WL
17   5802018, at **4-6 (W.D. Wisc. Nov. 7, 2014) (recognizing undisputed right of lender to
18   obtain borrower’s credit report pre-discharge) (citing 15 U.S.C. §§ 1681b(a)(3)(A) and
19   1681b(a)(3)(F)). Plaintiff does not allege that HSBC shared his credit report with any
20   third-parties who were not entitled to view his credit report, that his credit score was
21   impacted as a result of the inquiry, or that he was otherwise negatively impacted by the
22   inquiry in any way. Thus, Plaintiff has failed to allege that he suffered a “personal” and
23   “particularized” injury because of HSBC’s conduct. This is fatal to Plaintiff’s standing.
24         That members of the putative class may have been “harmed” or “damaged” as a
25   result of HSBC’s alleged statutory violations (though Plaintiff likewise fails to allege
26   how they have suffered any harm) cannot provide Plaintiff with standing, as the
27   representative plaintiff in a putative class action “must allege and show that [he]
28   personally ha[s] been injured, not that injury has been suffered by other, unidentified


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          Case 2:16-cv-00784-JAD-VCF Document 9 Filed 10/03/16 Page 10 of 23



 1   members of the class to which [he] belong[s].” See Spokeo, 136 S. Ct. at 1547 n.6
 2   (emphasis added) (internal quotation marks omitted).        Plaintiff fails to satisfy the
 3   particularization requirement and, thus, the Complaint should be dismissed. 1
 4                   2. The Complaint fails to allege a concrete injury
 5         Beyond the conclusory allegations that Plaintiff was “harmed” by the alleged
 6   credit report inquiry, the Complaint does not (as discussed above) identify any harm at
 7   all. Plaintiff does not allege that he suffered any monetary damages as a result of the
 8   alleged FCRA violation, or that he was injured in any other way. Instead, he alleges only
 9   a bare statutory violation, “divorced from any concrete harm.” See id. at 1549. As the
10   Spokeo Court made clear, this is insufficient.     Id. (“Article III standing requires a
11   concrete injury even in the context of a statutory violation.”). Thus, Plaintiff’s general
12   reference to the FCRA’s purpose, see Compl. ¶ 1, without more, does not satisfy his
13   burden to establish Article III standing.
14         In light of Spokeo, several Courts of Appeals and district courts within the Ninth
15   Circuit have already dismissed statutory claims where, as here, the plaintiff alleged only
16   a bare statutory violation, unaccompanied by any actual injury. See, e.g., Lee v. Verizon
17   Commc’ns, Inc., __ F.3d __, 2016 WL 4926159, at *2 (5th Cir. Sept. 15, 2016)
18   (“allegation of an ‘invasion of [a] statutory right[] to proper [p]lan management’ under
19   ERISA was not alone sufficient to create standing where there was no allegation of a real
20   risk that [plaintiff’s] … plan payments would be affected”); Braitberg v. Charter
21   Commc’ns, Inc., __ F.3d __, 2016 WL 4698283, at *4 (8th Cir. Sept. 8, 2016) (affirming
22   12(b)(1) dismissal of claim that cable company retained plaintiff’s personal information
23   in violation of the Cable Communications Policy Act, because plaintiff alleged only “a
24   bare procedural violation” and did not identify any “material risk of harm from the
25

26   1
     If the Court were to find that Plaintiff has satisfied the particularization requirement
27 (which it should not), it would nonetheless need to determine whether the concreteness
   requirement has been satisfied, as “it is not sufficient” for only one of these requirements
28 to be met. Id. at 1548.


                                                 7
          Case 2:16-cv-00784-JAD-VCF Document 9 Filed 10/03/16 Page 11 of 23



 1   retention”); Hancock v. Urban Outfitters, Inc., __ F.3d __, 2016 WL 3996710, at *3
 2   (D.C. Cir. July 26, 2016) (district court lacked jurisdiction over claims that store’s
 3   request for and retention of plaintiff’s zip code violated certain consumer identification
 4   and protection statutes, because there was no allegation of harm); Nei Contracting &
 5   Eng’g, Inc. v. Hanson Aggregates Pac. Sw., Inc., 2016 WL 4886933, at **4-5 (N.D. Cal.
 6   Sept. 15, 2016) (plaintiff lacked standing to pursue claim under California’s Invasion of
 7   Privacy Act because it “ha[d] not suffered a concrete or particularized injury by the
 8   violation”); Larroque v. First Advantage LNS Screening Sols., Inc., 2016 WL 4577257,
 9   at *5 (N.D. Cal. Sept. 2, 2016) (dismissing claim for failure to “comply with the
10   procedural requirements of Section 1681b(b)(1)” of the FCRA on standing grounds,
11   because plaintiff “alleged nothing more than a bare procedural violation of the FCRA”
12   and no “concrete harm”); Noble v. Nevada Checker CAB Corp., 2016 WL 4432685, at *3
13   (D. Nev. Aug. 19, 2016) (plaintiffs had “no standing to complain of the putative technical
14   violations of” the Fair and Accurate Transactions Act, “because the putative violations
15   created no ‘concrete’ harm of the type sought to be prevented by Congress, and Plaintiffs
16   [did] not separately allege[] any actual harm”), appeal pending, Appeal No. 16-16573
17   (9th Cir., filed Sept. 7, 2016); Smith v. Aitima Med. Equip., Inc., 2016 WL 4618780, at
18   *4 (C.D. Cal. July 29, 2016) (dismissing claim that “a single call” violated the Telephone
19   Consumer Protection Act, because plaintiff suffered only a “de minimis injury” (i.e.,
20   “[a]ny depletion of Plaintiff’s battery, or aggravation or nuisance”), as a result of the
21   call); Jamison v. Bank of Am., N.A., __ F. Supp. 3d __, 2016 WL 3653456, at **4-5 (E.D.
22   Cal. July 7, 2016) (dismissing Truth in Lending Act (“TILA”) claim for lack of standing
23   under Spokeo, reasoning that the complaint did “not provide factual allegations
24   establishing any harm plaintiff suffered as a result of defendant’s actions” and that “a
25   procedural violation of the TILA requirements … does not inherently establish concrete
26   harm”); Tourgeman v. Collins Fin. Servs., Inc., __ F. Supp. 3d __, 2016 WL 3919633, at
27   *3 (S.D. Cal. June 16, 2016) (dismissing claim under the Fair Debt Collection Practices
28   Act for failure to allege concrete injury, because plaintiff did not discover the alleged


                                                 8
          Case 2:16-cv-00784-JAD-VCF Document 9 Filed 10/03/16 Page 12 of 23



 1   violation until after the litigation was filed), appeal pending, Appeal No. 16-56190 (9th
 2   Cir., filed Aug. 19, 2016).2
 3         Because Plaintiff has failed to allege a concrete injury, the Complaint should be
 4   dismissed based on the absence of Article III standing.
 5
               C. The Complaint Fails to Allege Statutory Standing for Negligent FCRA
 6                Violations
 7         To the extent Plaintiff’s claim is based on a negligent violation of the FCRA, see
 8   id. ¶ 43,3 Plaintiff’s failure to allege actual damages prevents him from establishing even
 9   statutory standing. As a district court within the Ninth Circuit explained pre-Spokeo:
10         [A]lthough FCRA does allow a plaintiff to sue for negligent violations of the
11         statute, it provides relief only if the plaintiff can show actual damages…. In
12         this regard, a plaintiff must affirmatively prove that he is entitled to …
13
     2
14     That the FCRA does not require proof of actual damages to support claims for willful
15
     violations of the statute, see 15 U.S.C. § 1681n, is immaterial in the context of Article III
     standing. See, e.g., Spokeo, 136 S. Ct. 1540 (rejecting Ninth Circuit’s reasoning that
16   plaintiff had standing to bring a willful violation claim under § 1681n(a) without alleging
17
     actual harm because that statutory section does not require proof of actual damages); In
     re Cmty. Health Sys., Inc., 2016 WL 4732630, at *16 (N.D. Ala. Sept. 12, 2016)
18   (“Plaintiffs who alleged a willful FCRA violation without resulting actual damage” do
19   not “have Article III standing to present that FCRA claim,” even though “the FCRA
     provides for liability for a willful breach even absent actual damages”); Fisher v. Enter.
20   Holdings, Inc., 2016 WL 4665899, at **4-5 (E.D. Mo. Sept. 7, 2016) (requiring injury-
21   in-fact to support claim for willful violation of the FCRA post-Spokeo); Altman v. White
     House Black Market, Inc., 2016 WL 3946780, at **7-8 (N.D. Ga. July 13, 2016)
22   (plaintiff lacked standing to bring claim for willful violation of the FCRA because he did
23   “not allege actual damages” and, thus, had no injury in fact); Moody v. Ascenda USA
     Inc., 2016 WL 4702681, at *5 (S.D. Fla. July 1, 2016) (same).
24
     3
25   It is not clear from the Complaint whether Plaintiff is claiming that HSBC negligently
   or willfully violated the FCRA when it submitted the credit report inquiry to Equifax.
26 Compare id. ¶ 6 (alleging blanketly and in conclusory fashion that “[a]ny violation by
27 [HSBC] was knowing, willful, and intentional” and that HSBC “did not maintain
   procedures reasonably adapted to avoid any such violation”) with id. ¶¶ 43-44 (generally
28 referencing both negligent and willful violations).


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          Case 2:16-cv-00784-JAD-VCF Document 9 Filed 10/03/16 Page 13 of 23



 1         damages. Without a causal relationship between the violation of the statute
 2         and some harm, Plaintiff cannot obtain an award of actual damages. Thus,
 3         Plaintiffs who fail to allege or prove actual damages have no standing to sue
 4         under 15 U.S.C. § 1681o.
 5   Chavez v. Premier Bankcard, LLC, 2011 WL 5417107, at *4 (E.D. Cal. Nov. 8, 2011)
 6   (dismissing claim for negligent violation of § 1681b(f) of the FCRA on standing grounds
 7   where, as here, plaintiff did not “allege any injury as a result of Defendant’s actions” and,
 8   thus, did not “offer[] any factual basis that would entitle him to actual damages sufficient
 9   to raise the possibility of relief above the speculative level”) (internal citations omitted);
10   see also In re Cmty. Health Sys., 2016 WL 4732630, at *15 (same).
11         For all of the above reasons, the Court should find that Plaintiff has failed to allege
12   standing and, thus, dismiss the Complaint pursuant to Federal Rule of Civil Procedure
13   12(b)(1).
14      II. IN THE ALTERNATIVE, THE COMPLAINT FAILS TO STATE A CLAIM
15          UPON WHICH RELIEF CAN BE GRANTED
16         If the Court denies HSBC’s motion to dismiss for lack of subject matter
17   jurisdiction (which it should not), the Court should nonetheless dismiss the Complaint for
18   failure to state a claim upon which relief can be granted, pursuant to Federal Rule of
19   Civil Procedure 12(b)(6).
20         “To survive a motion to dismiss, a complaint must contain sufficient factual
21   matter, accepted as true, to state a claim to relief that is plausible on its face.” Cook v.
22   Brewer, 637 F.3d 1002, 1004 (9th Cir. 2011) (quoting Iqbal, 556 U.S. at 678; Bell Atl.
23   Corp. v. Twombly, 550 U.S. 544, 570 (2007)) (internal quotation marks omitted). This
24   standard “demands more than an unadorned, the-defendant-unlawfully-harmed-me
25   accusation.” Cook, 637 F.3d at 1004 (quoting Iqbal, 556 U.S. at 678; Twombly, 550 U.S.
26   at 555). “[A] plaintiff’s obligation to provide the grounds of his entitle[ment] to relief

27   requires more than labels and conclusions, and a formulaic recitation of the elements of a

28   cause of action will not do.” Cook, 637 F.3d at 1004 (quoting Twombly, 550 U.S. at


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          Case 2:16-cv-00784-JAD-VCF Document 9 Filed 10/03/16 Page 14 of 23



 1   555). Indeed, “legal conclusions are not entitled to the assumption of truth.” Marshall v.
 2   Silver State Disposal Serv., Inc., 2016 WL 1298102, at *2 (D. Nev. Mar. 31, 2016); see
 3   also Morse v. USAA Fed. Sav. Bank, 2012 WL 6020090, at *1 (D. Nev. Dec. 3, 2012)
 4   (“allegations which are legal conclusions, bare assertions, or merely conclusory” “are not
 5   entitled to the assumption of truth”).
 6         Here, Plaintiff has failed to plead facts sufficient to state a claim for either a
 7   negligent or willful violation of § 1681b(f) of the FCRA. Accordingly, the Complaint
 8   should be dismissed on the merits.
 9         A. The Complaint Fails to State a Claim for Negligent Violation of the FCRA
10         As mentioned above, “[i]n order to make a claim for negligent noncompliance
11   [with the FCRA], a plaintiff must establish actual damages.” Taylor v. First Advantage
12   Background Servs. Corp., __ F. Supp. 3d __, 2016 WL 4762268, at *4 (N.D. Cal. Sept.
13   13, 2016) (citing 15 U.S.C. § 1681o(a)(1)); see also Grigoryan v. Experian Info. Sols.,
14   Inc., 84 F. Supp. 3d 1044, 1077 (C.D. Cal. 2014) (“To establish a negligent violation of
15   [the FCRA], a plaintiff must prove that he incurred actual damages caused by the alleged
16   violations.”); Johnson v. Wells Fargo Home Mortg., Inc., 558 F. Supp. 2d 1114, 1121 (D.
17   Nev. 2008) (recognizing actual damages as an element of a claim for negligent violation
18   of the FCRA). “The FCRA does not presume actual damages for a negligent … failure
19   to comply with any of its requirements. Plaintiff bears the burden of proving that his
20   damages were, in fact, caused by Defendant’s violation.” Johnson, 558 F. Supp. at 1122.
21         Because Plaintiff has failed to allege that he incurred any actual damages as a
22   result of HSBC’s alleged credit inquiry (see Section I, supra), he has failed to state a
23   claim for negligent violation of the FCRA, and Plaintiff’s claim should be dismissed to
24   the extent it is based on HSBC’s alleged negligence. See, e.g., Danaher v. Frederick J.
25   Hanna & Assocs., P.C., 2013 WL 5375299, at *3 n.2 (D. Nev. Sept. 24, 2013) (granting
26   motion to dismiss FCRA claim were “Plaintiff … failed to specifically and sufficiently
27   allege the … damages necessary to state a viable claim for violation of the FCRA”);
28   Morse, 2012 WL 6020090, at *3 (dismissing FCRA claim at 12(b)(6) stage because


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          Case 2:16-cv-00784-JAD-VCF Document 9 Filed 10/03/16 Page 15 of 23



 1   plaintiff “fail[ed] to plead any facts showing actual damages, which [was] a required
 2   element of [the] claim”); Martin v. Asset Acceptance, LLC, 2012 WL 3042524, at **2-3
 3   (N.D. Ill. July 25, 2012) (dismissing, at 12(b)(6) stage, claim for negligent violation of
 4   the FCRA, where the complaint “[did] not give [the] court the faintest idea as to the
 5   actual damages he sustained”); Seo v. CC CJV Am. Holdings, Inc., 2011 WL 4946507, at
 6   *2 (C.D. Cal. Oct. 18, 2011) (granting motion to dismiss claim for negligent violation of
 7   the Fair and Accurate Credit Transactions Act where plaintiff had “not alleged that he
 8   suffered any actual damages as a result of [defendant’s] actions beyond the bare assertion
 9   that ‘actual damages are present and quantifiable’”); Johnson v. CGR Servs., Inc., 2005
10   WL 991770, at **2-3 (N.D. Ill. Apr. 7, 2005) (dismissing FCRA negligence claim where
11   the complaint made no mention of actual damages).
12         B. The Complaint Fails to State a Claim for Willful Violation of the FCRA
13         “A ‘willful’ violation under the FCRA includes … knowing violations of a
14   standard,” as well as “reckless ones.” Bateman v. Am. Multi-Cinema, Inc., 623 F.3d 708,
15   711 n.1 (9th Cir. 2010) (quoting Safeco Ins. Co. of Am. v. Burr, 551 U.S. 47, 57 (2007));
16   see also Johnson, 558 F. Supp. 2d at 1138 (discussing “willfulness” standard). Here,
17   Plaintiff has failed to allege any facts demonstrating that HSBC willfully violated the
18   FCRA, either by acting knowingly or recklessly.
19         Plaintiff simply alleges, in conclusory fashion, that “[a]ny violation [of the FCRA]
20   by [HSBC] was knowing, willful, and intentional” and that HSBC “did not maintain
21   procedures reasonably adapted to avoid any such violation.” See Compl. ¶ 6. But
22   Plaintiff fails to support that bald allegation with any factual support whatsoever. To the
23   contrary, the facts alleged in the Complaint depict a longtime lending relationship
24   between Plaintiff and HSBC, during which time HSBC undisputedly had a “permissible
25   purpose” to request and obtain Plaintiff’s credit report (pursuant to 15 U.S.C.
26   §§ 1681b(a)(3)(A) and 1681b(a)(3)(F)). See generally Germain, 2014 WL 5802018, at
27   **4-6; Compl. ¶¶ 16-19. Then, just one month after Plaintiff’s Debt was discharged,
28


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          Case 2:16-cv-00784-JAD-VCF Document 9 Filed 10/03/16 Page 16 of 23



 1   HSBC made a single credit report inquiry. The Complaint does not allege that HSBC
 2   made any other credit report inquiries thereafter.
 3         These allegations do not plausibly support a claim that HSBC willfully violated the
 4   FCRA when it requested Plaintiff’s credit report. Accordingly, Plaintiff’s claim should
 5   be dismissed to the extent it is based on willful conduct. See Shostack v. Diller, 2015
 6   WL 5535808, at **10-11 (S.D.N.Y. Sept. 16, 2015) (dismissing claim for willful
 7   violation of § 1681b(f) where plaintiff’s “allegations as to Defendants’ state of mind
 8   [were] merely conclusory and [did] not satisfy the Iqbal pleading standard”; “[i]t is not
 9   enough that [plaintiff] ‘feels that the actions of defendant … are extremely wanton,
10   unconscionable, reckless and negligent,’” plaintiff “must allege some factual basis from
11   which the Court can infer a culpable state of mind”); Syed v. M-I LLC, 2014 WL
12   4344746, at *3 (E.D. Cal. Aug. 28, 2014) (plaintiff’s “bare allegations that defendants’
13   conduct was ‘willful’ and ‘reckless’” were nothing more than “‘labels and conclusions’
14   without factual content” and, thus, were “not sufficient to state a claim that defendants’
15   conduct was willful”); Danaher, 2013 WL 5375299, at *3 n.2 (“Plaintiff … has only
16   provided conclusory allegations of Defendant’s willful violation of the FCRA and,
17   therefore, his claim for damages is not cognizable.”); Morse, 2012 WL 6020090, at *3
18   n.2 (“To the extent that Plaintiff argues that Defendant acted willfully [in violating the
19   FCRA], the Amended Complaint lacks plausible facts which would permit these claims
20   to proceed.”); Chavez, 2011 WL 5417107, at *4 (“[S]ince Plaintiff has only alleged
21   conclusory allegations for his claims of willful misconduct, his claims for statutory and
22   punitive damages pursuant to 15 U.S.C. § 1681n are not cognizable.”).
23      III.   ALTERNATIVELY, PLAINTIFF’S CLASS ALLEGATIONS SHOULD
24             BE STRICKEN
25         If the Court does not dismiss the Complaint for either lack of standing or failure to
26   state a claim upon which relief can be granted, the Court should nonetheless strike

27   Plaintiff’s class allegations from the Complaint.

28


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          Case 2:16-cv-00784-JAD-VCF Document 9 Filed 10/03/16 Page 17 of 23



 1            A. The Motion to Strike Class Allegations Standard
 2         Courts have “the authority to strike class allegations prior to discovery if the
 3   complaint demonstrates that a class action cannot be maintained.” John v. Mazo, 2016
 4   WL 4497755, at *2 (D. Nev. Aug. 25, 2016). Indeed, Federal Rule of Civil Procedure
 5   23(d)(1)(D) authorizes courts to “require that the pleadings be amended to eliminate
 6   allegations about representation of absent persons and that the action proceed
 7   accordingly.” See also James W.M. Moore, et al., Moore’s Federal Practice § 23.145
 8   (3d ed. 2016) (“A court may order deletion of portions [of] a complaint’s class claims
 9   once it becomes clear that the plaintiffs cannot possibly prove the deleted portion of those
10   claims.”).
11         An immediate motion to strike can be utilized where it is “apparent on the face of
12   the complaint that plaintiffs’ class allegations should be stricken” because “the putative
13   class is improperly defined.” 1 McLaughlin on Class Actions § 3.4 (12th ed. 2015); see
14   also id. (Rule 23(d)(4) “expressly authorizes a motion to strike class allegations” and
15   such motion “may properly be filed before plaintiffs have filed a motion for class
16   certification”); Fed. R. Civ. P. 23(c)(1)(A) (requiring that class-action viability be
17   addressed at “an early practicable time”).
18            B. Plaintiff Has Failed to Establish an Identifiable and Ascertainable
19               Class4
20         “As a threshold matter, a party seeking class certification must prove that the class
21   is ascertainable ….” Fed. Housing Fin. Agency v. SFR Invs. Pool 1, LLC, 2016 WL
22   2350121, at *3 (D. Nev. May 2, 2016), appeal pending, Appeal No. 16-16043 (9th Cir.,
23   filed June 10, 2016); see also Brown v. Abercrombie & Fitch Co., 2015 WL 9690357, at
24   *9 (C.D. Cal. July 16, 2015) (a “prerequisite” to a full-blown class certification analysis
25   under Federal Rule of Civil Procedure 23 “is that the class must be sufficiently definite;

26   the party seeking certification must demonstrate that an identifiable and ascertainable

27   4
       HSBC reserves its right to challenge all aspects relating to class certification and the
28   class definition at a later time.


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          Case 2:16-cv-00784-JAD-VCF Document 9 Filed 10/03/16 Page 18 of 23



 1   class exists”); Bates v. Dollar Loan Ctr., LLC, 2014 WL 5469221, at *2 (D. Nev. Oct.
 2   28, 2014) (referring to ascertainability as the “threshold question” that must be addressed
 3   before the Rule 23 analysis).
 4         “An identifiable class exists if its members can be ascertained by reference to
 5   objective criteria.” Herrera v. LCS Fin. Servs. Corp., 274 F.R.D. 666, 672 (N.D. Cal.
 6   2011); see also Fed. Housing, 2016 WL 2350121, at *3 (a class is ascertainable if
 7   “membership in the class can be determined by reference to objective criteria”);
 8   Kristensen v. Credit Payment Servs., 12 F. Supp. 3d 1292, 1303 (D. Nev. 2014) (“In
 9   order for a proposed class to satisfy the ascertainability requirement, membership must
10   be determined from objective, rather than subjective, criteria.”); Bates, 2014 WL
11   5469221, at *2 (ascertainability “requires Plaintiff to demonstrate that ‘membership in
12   the class can determined by reference to objective criteria’”); Federal Judicial Center,
13   Manual for Complex Litigation (4th ed.) § 21.222 (the class definition “must be precise,
14   objective, and presently ascertainable”).
15         On the other hand, “[a] class definition is inadequate if a court must make a
16   determination of the merits of the individual claims to determine whether a person is a
17   member of the class.” Herrera, 274 F.R.D. at 672-73; see also Fed. Housing, 2016 WL
18   2350121, at *3 (“Determination of class membership should not entail detailed individual
19   inquiries. Similarly, class definitions based on the merits of individual members’ claims
20   are not sufficiently definite.”) (citing 3 William B. Rubenstein, Newberg on Class
21   Actions § 3.3 (5th ed. 2013)); Kristensen, 12 F. Supp. at 1303 (same). “The inquiry into
22   class membership must not require holding countless hearings resembling ‘mini-trials.’”
23   Fed. Housing, 2016 WL 2350121, at *3 (citing Newberg on Class Actions § 3.6);
24   Kristensen, 12 F. Supp. at 1303 (same).
25         Because Plaintiff’s proposed class definition is overbroad and would require a
26   determination of the merits of each potential class member’s claim, Plaintiff has failed to
27   establish that the class is ascertainable and, thus, the Court should strike the class
28   allegations from the Complaint.


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          Case 2:16-cv-00784-JAD-VCF Document 9 Filed 10/03/16 Page 19 of 23



 1                   1. The class definition improperly requires a merits determination
 2         Plaintiff defines the putative class to include “[a]ll persons whose consumer credit
 3   report from any of the three major credit reporting agencies (Transunion, Equifax, and
 4   Experian) reflects an unauthorized consumer credit report inquiry by [HSBC] after
 5   Chapter 13 bankruptcy discharge within the past 5 years.” Compl. ¶ 30 (emphasis
 6   added). Thus, in order to determine which individuals are members of the class, it will
 7   be necessary to analyze the merits of the case—that is, whether HSBC’s credit report
 8   inquiry was “unauthorized.”
 9         Section 1681b(f) of the FCRA requires the plaintiff to establish three elements:
10   (1) “that there was a ‘consumer report’ within the meaning of the statute”; (2) “that the
11   defendant used or obtained it”; and (3) “that the defendant did so without a permissible
12   statutory purpose.” Rydell v. Servco Auto Windward, 2011 WL 5506088, at *2 (D. Haw.
13   Nov. 9, 2011). With respect to the third element, § 1681b enumerates many permissible
14   purposes for requesting and obtaining credit reports. These purposes generally relate to
15   (without limitation) the collection of debts, determining whether a person is creditworthy,
16   employment, or other instances in which the customer has provided written consent.
17         Accordingly, it would be necessary to determine whether HSBC had any of the
18   permissible purposes outlined in § 1681b of the FCRA in connection with each instance
19   during the class period (discussed further below) in which HSBC submitted a credit
20   report inquiry regarding an individual after that person had received a discharge through
21   a Chapter 13 bankruptcy proceeding. See generally Germain, 2014 WL 5802018, at *9
22   (finding claims under § 1681b(f) not appropriate for class treatment because it would be
23   necessary to undertake an individualized inquiry to determine whether defendant had a
24   “permissible purpose” to obtain each potential class member’s credit report). Because
25   § 1681b contains various qualifications and references to additional statutory provisions,
26   and the meaning of some of these provisions has been further refined in the case law
27   interpreting them, this determination would require an intensive, fact-sensitive analysis
28   involving a complicated statute. Moreover, it would be necessary to determine whether


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          Case 2:16-cv-00784-JAD-VCF Document 9 Filed 10/03/16 Page 20 of 23



 1   each of the potential class members could establish the elements required under
 2   § 1681b(f). See, e.g., Rydell, 2011 WL 5506088, at *2.
 3         Because a determination of class membership would require a hearing on the
 4   merits for each potential class member, Plaintiff’s proposed class is improperly defined.
 5   See, e.g., Fed. Housing, 2016 WL 2350121, at *4 (denying class certification where class
 6   was “not reasonably ascertainable” because “the class definition impermissibly
 7   implicate[d] the merits of the case” and “would result in countless hearings resembling
 8   ‘mini-trials’”); Kaufman v. Am. Family Mut. Ins. Co., 2008 WL 1806195, at *3 (D. Colo.
 9   Apr. 21, 2008) (rejecting class treatment where “there is no defined ‘class’ because
10   determination of the merits of each person’s claim will be required to decide whether
11   they are a member”); Wilson v. Toussie, 2008 WL 905903, at *5 (E.D.N.Y. Mar. 31,
12   2008) (rejecting class definition where “determining membership would essentially
13   require a mini-hearing on the merits of each class member’s case”); Fisher v. Ciba
14   Specialty Chems. Corp., 238 F.R.D. 273, 301 (S.D. Ala. 2006) (noting that courts reject
15   certification “where the proposed definition would require individualized fact-finding to
16   identify class members”); Bostick v. St. Jude Med., Inc., 2004 WL 3313614, at *16 (W.D.
17   Tenn. Apr. 17, 2004) (class membership was not “ascertainable without an adjudication
18   of the merits of their claim”); Sanneman v. Chrysler Corp., 191 F.R.D. 441, 446 (E.D.
19   Pa. 2000) (“Determining a membership in the class would essentially require a mini-
20   hearing on the merits of each class member’s case, which in itself renders a class action
21   inappropriate for addressing the claims at issue.”); Earnest v. Gen. Motors Corp., 923 F.
22   Supp. 1469, 1473 (N.D. Ala. 1996) (failure by plaintiff to establish identifiable and
23   ascertainable class “entitles a court to dismiss the class allegations and proceed with the
24   action on an individual basis” and granting motion to strike class allegations); Luedke v.
25   Delta Airlines, Inc., 155 B.R. 327, 329-31 (S.D.N.Y. 1993) (denying class certification
26   based solely on determination that identification of class members was not shown to be
27   administratively feasible). Accordingly, Plaintiff’s class definition and class allegations
28   should be stricken.


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          Case 2:16-cv-00784-JAD-VCF Document 9 Filed 10/03/16 Page 21 of 23



 1                    2. The class definition is overbroad, as it includes individuals whose
                         claims are time-barred
 2
           Finally, Plaintiff’s class period is overbroad because it includes individuals whose
 3
     claims may be barred by the applicable statute of limitations. Pursuant to 15 U.S.C.
 4
     § 1681p, the statute of limitations for a claim under the FCRA is “the earlier of (1) 2
 5
     years after the date of discovery by the plaintiff of the violation that is the basis for such
 6
     liability; or (2) 5 years after the date on which the violation that is the basis for such
 7
     liability occurs.” Plaintiff defines the class to include all persons on whose behalf HSBC
 8
     submitted a credit report inquiry “… within the past five years.” See Compl. ¶ 30
 9
     (emphasis added). However, any such person who discovered the alleged violation more
10
     than two years before the filing of the Complaint is out of time and should be excluded
11
     from the class. See, e.g., Holman v. Experian Info. Sols., Inc., 2012 WL 1496203, at *15
12
     (N.D. Cal. Apr. 27, 2012) (“limit[ing] the class period” to begin two years before the
13
     filing of the complaint, because “assess[ing] liability to … putative class members
14
     who[sustained a FCRA violation] more than two years before [then] would require a
15
     determination of whether the class member had … learned of” the violation and when);
16
     cf. Molina v. Roskam Baking Co., 2011 WL 5979087, at *5 (W.D. Mich. Nov. 29, 2011)
17
     (plaintiff’s five-year class period for proposed FCRA class was improper because “a five-
18
     year limitations period would apply only if … the purported class member did not
19
     discover the violation that gave rise to his or her claim at some earlier point”).
20
     Accordingly, if the Court does not completely strike the class allegations from the
21
     Complaint, it should, at the very least, limit the class period to encompass only those
22
     individuals whose claims are based on alleged FCRA violations that occurred on April 8,
23
     2014 or later.
24
                                           CONCLUSION
25
           For the foregoing reasons, HSBC respectfully requests that the Complaint be
26
     dismissed for lack of subject matter jurisdiction, pursuant to Federal Rule of Civil
27
     Procedure 12(b)(1), or, alternatively, for failure to state a claim upon which relief can be
28
     granted, pursuant to Federal Rule of Civil Procedure 12(b)(6). In the alternative, if the

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          Case 2:16-cv-00784-JAD-VCF Document 9 Filed 10/03/16 Page 22 of 23



 1   Court does not dismiss the Complaint in its entirety, HSBC respectfully requests that
 2   Plaintiff’s class definition be stricken, pursuant to Federal Rule of Civil Procedure
 3   23(d)(1)(D).
 4   Dated: October 3, 2016              Respectfully Submitted,
 5                                       GREENBERG TRAURIG, LLP
 6
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          Case 2:16-cv-00784-JAD-VCF Document 9 Filed 10/03/16 Page 23 of 23



 1                               CERTIFICATE OF SERVICE
 2
           I hereby certify that on the 3rd day of October, 2016, a true and correct copy of the
 3
     foregoing    DEFENDANT            HSBC        MORTGAGE           SERVICES,         INC.’S
 4
 5   MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION
 6
     TO DISMISS, PURSUANT TO FED. R. CIV. P. 12(b)(1) OR 12(b)(6), OR, IN THE
 7
     ALTERNATIVE, TO STRIKE CLASS ALLEGATIONS was filed electronically via
 8
 9   the Court’s CM/ECF system. Notice of filing will be served on all parties by operation
10
     of the Court’s EM/ECF system, and parties may access this filing through the Court’s
11
     CM/ECF system.
12
13
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